                              3:10-cv-03149-SEM-BGC # 25          Filed: 08/21/12      Page 1 of 1
                                                                                                                 E-FILED
Judgment in a Civil Case (02/11)                                               Tuesday, 21 August, 2012 04:35:30 PM
                                                                                       Clerk, U.S. District Court, ILCD
                                   UNITED STATES DISTRICT COURT
                                                         for the
                                                Central District of Illinois



          PATRICK O'KEEFE,                                   )
                         Plaintiff,                          )
                                                             )
                                    vs.                      )      Case Number: 10-3149
                                                             )
                                                             )
          HAROLD GIST and                                    )
          THE CITY OF GIRARD, ILLINOIS,                      )
                          Defendants.                        )

                                           JUDGMENT IN A CIVIL CASE

            JURY VERDICT. This action came before the Court for a trial by jury. The issues have been
          tried and the jury has rendered its verdict.


            DECISION BY THE COURT. This action came to trial or hearing before the Court. The
          issues have been tried or heard and a decision has been rendered.


                IT IS ORDERED AND ADJUDGED pursuant to the Opinion entered by the Honorable
          Sue E. Myerscough on August 16, 2012 granting the Defendants' Motion to Dismiss and
          pursuant to Magistrate Judge Byron Cudmore's Report and Recommendation, the claims in
          Counts I and II are dismissed with prejudice and the claims in Count III are dismissed for lack of
          subject matter jurisdiction. Case CLOSED. ---------------------------------------------------------------


          Dated: August 21, 2012


                                                          s/ Pamela E. Robinson
                                                          Pamela E. Robinson
                                                          Clerk, U.S. District Court
